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                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS


    UNITED STATES
                                                                    Docket No. 24-cr-10364-IT
                 v.

    TANIA FERNANDES ANDERSON


              MOTION TO MODIFY PAYMENT SCHEDULE FOR COUNSEL FEE

           The Defendant, Tania Fernandes Anderson, hereby moves to modify the schedule for the

payment of her counsel fee. The Court has ordered Ms. Fernandes Anderson to make a payment

of $5000 to the Clerk’s Office by January 31, 2025 for the purpose of contributing to the costs of

court-appointed counsel. ECF #19. Ms. Fernandes Anderson will comply with the Court’s

directive but is unable to pay the full balance at this time. 1 Ms. Fernandes Anderson proposes to

pay $1000 to the Clerk’s Office forthwith and $1000 monthly thereafter until the balance is

satisfied.

           Counsel for the government takes no position as to this motion.

                                                                Respectfully submitted,

                                                                /s/ Scott Lauer
                                                                Scott Lauer
                                                                Federal Public Defender Office
                                                                51 Sleeper Street, 5th Floor
                                                                Boston, MA 02210
                                                                (617) 223-8061
                                                                scott_lauer@fd.org




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    Copies of Ms. Fernandes Anderson’s recent bank statements will be provided under seal for the Court’s review.

                                                          1
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                                 CERTIFICATE OF SERVICE

        I, Scott Lauer, hereby certify that this document(s) filed through the ECF system will be
sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) on January 30, 2025.

                                                      /s/ Scott Lauer
                                                      Scott Lauer




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